CaSe:lS-lOQGB-TBl\/l DOC#ZJ_OB Filed:OB/Zl/J_S Entered205/21/1815237252 Pagel Of 13

Exhibit 5

DEBTOR(S):MZ)_%QM l g Q MoNTHLY oPERATlNG REPoRT
cHAPTER11
cASE NuMBER: wm

Form 2-A
COVER SHEET

For Permd End Da:e.- RPXL\_ZQ,M

Accounting thhod: l:f;\ccrua| Basis |:|Cash Basis

 

THlS REPORT lS DUE 21 DAYS AFTER THE END OF THE MONTH

Debtof must attach each of the following documents unless the U_ S. Trustee

 

Mark One Box for Each has waived the requirement in writing. Fiie the original with the Clerk of Court.
Required Document Submit a duplicaie, with original signaturel to the U. S. Tmstee.
ReporUDocument Previously
Auached waived REQU|RED REPORTSlDOCUMENTS

 

[]

_ Cash Receipts and Disursements Statement (Form Z~B)
2. Baiance Sheet (Form 2-C)

3. Prol`it and l_oss Statement (Form Z-D)

4. Supporting Schedu|es (Form 2-E}

"5. Quarieriy Fee Summary (Form 2~F)

. Narrative (Form 2-G)

'7_ Bank Statemnis for ml Bank Accounis

(Redact all but last 4 d‘igits of account number and remove check images)
8. Bank Statement Reconciiiations for all Bank Accounts

EE[IEEE

 

NR@@RA@@@

 

 

l declare under penalty of perjury that the following Monthly Operating Report, and any
attachments thereto are true, accurate and correct to the best of my knowledge and belief

Executed on:dj_§)r% Print Name: LO M 16 H 14 R,D
Signature: %'C(A/;\ W

rirle= miner

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Rev. 1/15/14

oEBTon(s):}UQM‘,j-j@fhj § 1 Q,

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Exhibit 5

E>;\£Bko";'lj&)\~/l

CASE NO:

Form 2-B

CASH RECElPTSAN DSBURSEM NT STATEMENT
For Period: \ to

CASH FLOW SUMMARY

'1. Beginning Cash Balance

'2. Cash Receipts
Operations
Sale of Assets
Loanslaclvances
Other

Total Cash Receipts
'3. Cash Disbursements
Operaiions
Debt ServicelSecured loan payment
Professional fees/U.S. Trustee fees
Profession fees paid from Retainer (e.g. COLTAF acct}
Other
Total Cash Disbursements

r4. Net Cash Fiow (Tota| Cash Receipts less
Tota| Cesh Disbursements)

5 Ending Cash Balanoe (to Form 2-C}

CASH BAL.ANCE SUMMAR‘(

Peity Cash

Current
l\llonth

$jA-JCU \£g'(l) $ will

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$ E‘£¢Ta $ m
5 __- ’}_OCU)-"

` ’L law .E>%

$ - $ m

MLQ’L ml
$Wz) $ M

 

Book
Financia| |nstiililion Ba|ance
\\\_ll>~ $
T'b\o\‘i').\o’b

DIP Operating Account

mé?ng\q_i

 

 

DlP State Tax Account \\\ )A
l

D|P Payrol| Account N]P\

Other Operating Account \\\ |A

 

Reiainers heed by professionals (i_e_ coLTAF)MA_Rj§\QM ®

TOTAL (must agree \M'lh Ending Cash Balance above)

$Ml

(1) Accumulated beginning cash balance is the cash available at the commencement of the case and retainers.
Current month beginning cash balance should equal the previous monlh's ending balance

(2) Ail cash balances should be the same

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Exhlblt 5

DEBTOR(S): § BEQ§ § id gm w § l§f, cAsE No: \BMTQj~/l
Form 2-B

CASH RECE|PT A DD|SBUR E NTS STATEMENT
For Period: to

cAsH oisBuRsEMENts oE'rAiL Accounmo’m,_

(altach addtional sheets as necessarw

 

 

L\Date l [Checl< No.l l Payee l l Descriplion (Purpose) l $l Amount l
4 210\\% \OU- Aevaw_ wm total
W€,`\'¢\\~or\ P\\*Un€\j \\"\‘E> 531

Tota| Cash Disbursements $M (1)

(1) Total for all accounts should agree with total cash disbursements listed on Form Z-B,_page 1

Page 26
Rev. 1l15l‘| 4

oEBToR(s): iEQD§LBB-D w §§Q,

Form 2-C
CO M PARAT lVE BA

For Period Ended: M§E>_

ASSETS

Current Assets:
Cash (from Form 2-B, line 5)
Accounts Reoeivable (from Form 2~E)
Receivable from Oliicers, Employees, Affiliates
inventory
Other Current Assets :(l_ist)

Tota| Current Assets

Fixed Assets.'
Land
Building
Equipment, Furniture and l'-'ixtures
Total Fixed Assets
l_ess: Accumulated Deprecial§on

Net Fixed Assets
Other Assets (l_ist}:

TOTAL ASSETS

l_lABlLlTlES
Post~pelilion Accounts Payable (from Form 2~E)
Post-peliiion Accrued Profesional Fees (from Form 2-E)
Post-petition Ta)ces Payable (from Form 2- E)
Post-petition |\lotes Payab|e
Other Post-petition Payable(l_ist):

TOtal Post Petifion Liabillties

Pre Petition Liabilities:
Secured Debt
Priority Debt
Unsecured Debt

Tota| Pre Petition Liabiiities
TOTAL L|ABlLthES

OWNERS ' EQUlTY

Ommer'slStockho|der's Equity
Retained Earnings ~ Prepetition
Retained Earnings - Post-petition

TOTAL OWNERS' EQU|TY
TOTAL LiABlL|TIES AND OWNERS' EQU|'!'Y

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Exhibit 5

cAse No: MTE)M

C SHEET

Current Petition
Month Date (1)

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a UEM U’m.

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( ) ( )
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$ $

 

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$a:\oz>taw=wa:\emem
lawn M¢n

 

 

$ manage mem
$ @;aa.at>°'$ camden

(1) Pet.itfon date values are taken from the Debtor's balance sheet as of the petition date or are the values

limed on the De.btor's schedules

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§§_&LEQM
DEBTOR(S}: jim m §me § § §: CASE NO: M mm
Form 2-D
PROF|T AND LOSS STATEMENT
For Period to
Current Accumulated
N|O_nih 1313_|_(11
Gross Operating Revenue $ $
Less: Discounts, Returns and Ailowances ( ) ( )
Net Operating Revenue $ Q§ $ §

Cost of Goods Soid

Gross Profit $ ch 3 __¢_

Operating Expenses
Oi‘iicer Compensation $ $
Sei|ing, General and Administrati\le
Rents and Leases
Depreciaiion, Depietion and Amortization

Other (|ist):
M item

Totai Operaiing Expenses $ w $ w
Ope rating income (Loss) $ "'\ \E}§ §§ Z_ § M

Non-Operating income and Expenses
Other Non-Operating E)cpenses $ $
Gains (Losses) on Sale of Assets
interest income
interest Expense

Other Non-Operatlng income w
Net Non-Operating income or (E)qaenses) $ Q $ w 7

Reorganization Expenses

i_egai and Professiona| Fees $ $ m ."
Other Reorganization Expense
Tota| Reorganization Expenses $ $ w
Net income (Loss) Before income Taxes $ M $
Federal and State income Tax Expense (Beneflt) Sz)

NE'r INCOME rLOSS) $ M $Mwl

(1) Accumulated Totals include all revenue and expenses since the petition date.

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EXhibit 5

DEBTOR(s): nw Q~M'£m fw § §§;, cAsE No;-\%-_\Qgg@jbv\

Form 2-E {Page 1 of 2)

SUPPORT|NG SCHEDULE
For Period: &| § `\& to

   

1" 2 ' 3 4

 

Unpaid post-petition Post-petition taxes Post-peiition tax Unpaid post-petition
taxes from prior accrued this month (new payments made this tams at end of reporting
re-~-rtin month 'i rev¢ortin month
- "¥

   
  

   
      

Employee incme tax withheld __,__--_""'"`

 

 

 

 

 

Empioyee FiCA tapes withheld __/.»""""f
Empioyer FiCA taxes __________-*/

Unemployment taxes

Oh‘\er: n 7 _ _ __ _ _..-»--""""'__

 

 

 

 

Other: _.__----""""*f

   

P\z…soprow taxes
Reai property tams
Other:

 

 

 

 

 

 

 

 

Total unpaid post-petition taxes
{1) For first report. the beginning balance in column 1 will be $0; thereafter, beginning balance will be ending balance from prior report

 

 

Premium paid through
of insurance insurance carrier date date

Generai iiabi

Vehi cie
Other
Other

if were renewed or ` ' attach new certiticate of insurance

 

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Exhibit 5

DEBTOR(S):MM cASE ~o=l&~_\c,<_>im'vem

Form 2-E (Page 2 of 2}

SUPPORT|NG SCHEDULE
For Period: § § `B to

 

 

 

 

 

 

 

 

 

 

 

 

 

 

30 days or less 31 to 60 days 61 to 90 days O\»er 90 days Tota| at month end
Pre-petition receivables »-"’ / --"‘ \?PS"\E)’]_ ’]Q_ \'B'Q"\E)Q_QQ.
Post-petition receivables N]p~ Nj/A N_[A NIA N)A
Tonl (Z (Z ® \?`l'd'\§"'fl. . \%F:)'\?_'S'l.-

30 days or less 31 to 60 days 61 to 90 days Over 90 days Tota| at month end
Trade Payables
Other Payables
Total

 

   

 

 

 

 

 

 

 

Month-end Current Paid in
Retainer Month's Current Court Approval Month-end
Balance Accrual Month Date Balance Due *
newer-wound $ d $mm.?;o s \\-\e.en. $-:n»:z:\.e£>
Counsel for Unsecured p~ v
Creditors' Commiiiee \~\ b.
Trustee's Counse| N [ 51
Accountant NIA
Other; \\\IA

 

 

 

 

 

Tota| . $ Cb

l
*Ealance due to include fees and expenses incurred but not yet paid.

 

 

 

 

Position Nature of

 

*'List payments and transfers of any kind and in any form made to orfor the benefit of any proprietor, owner, partner, shareholder, ofl“lcer, or director.

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Exhibit 5

DEBTOR¢S)=MMQ. cASE NO:BMQE;_~QM__

Form Z-F

QUARTERLY FEE SUMM R¥ *
For the Month Ended:

Cash Quarter|y Date
Month Year Disbursements ** Fee Due Check No. Paid
anew _'to\h $
February ‘_' g did
Ma'”€h M wl .(aj_p

ToTAL 151 ouarter $ QQL.§;Q $ § E)." _\M_ Ml&_

Aprii fgf)\§ s \?_)‘EA . 2>%

 

 

Nlay
June
TOTAL 2nd Quarter $ $
Ju[y $
August
September
TOTAL 3rd Quarter $ $
October $
November
December
TOTAL 4th Quarter $ $

 

 

EDULE las Of JANUARY 1l 2008[

that may occur to 28 U.S.C. §1930(3)(6)

Quarter|y Disbursements _Ee_e Quarter Disbursements

$0 to $1 4, 999 ................. $325 $1,000.000 to $1,999,999 ............
$15,000 to $74,999 ......... $650 $2,000,000 to $2,999,999 ............
$75,000 to $149,999 ....... $975 $3,000,000 to $4.999,999 ............
$150,000 to $224,999 ..... $‘| ,625 $5,000,000 to $14,999,999 .......
$225,000 to $299,999 ..... $1,950 $15,000,000 to $29,999,999....
$300,000 to $999,999..... $4,875 $30,000,000 or more

g
$6,500
$9,750

$10,400
$13,000
$20,000
$30,000

 

* `lhis summary is to reflect the current calendar year's information cumulative to the end of the reporting period

** Shouid agree with line 3, Form 2-B. Disbursements are net of transfers bo other debtor in possession bank accounts

Failure to pay the quarten'y fee is cause for conversion or dismissal of the chapter ‘l 1 case. [‘l 1 U. S. C. Sec. 1 1 12(b)(10)]
in addition, unpaid fees are considered a debt owed to the United States and tull be assessed interest under 31 U. S. C. §3717

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Exhibit 5

nemoan cAsE~o=iaaMb/i

Form 2-G

NA TlV
For Period Ending

P!ease provide a brief description of any significant business and legal actions taken by the debtor, its creditors,
or the court during the reporting period, any unusual or non-recurring accounting transactions that are reported in
the financial statements, and any significant changes in the financial condition of the debtor which have occurred

susequent to the report date.

NO 6\c3w`\¥~`\coo’c CXOr\<§s `m i>».or`\\_

 

 

 

 

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; ‘ §%IB§§: 93885 Business Banking Statement
h cie\leiand, oH 44101-5835 April 30’ 2018
' page 1 of 2
*4022
1 'r 101 ooooo 11 an T1
11330 SM|TH ROAD, LLC Ouesiions or comments?

CASE#18-10965TBM

» Ca|| our Key Business Fiesource Center
DEBTOF\ lN PoSSESSiON . _ _ _ _ _
11380 SM|TH RD Q»WUL© 1 838 KEY4BlZ (1 838 539 4249)

AUFlORA CO 80010-1406

oi»ii\%

 

Enro// in On/ine Banking today at Key. com.

Access your a vail/able accounts, transfer funds and view your transactions right from your PC.

 

 

KeyBanK Basic Business Checking 761011004022

 

 

 

 

 

 

 

11330 SM‘TH ROAD' LLC seginning balance 3-31-18 $74,797.14
CASE#UM%STBM ' 1 subtraction 1 173 52
DEBTOFi |N P SSESS| N ' ' '
0 0 Net fees and charges -3.00
Ending balance 4-30-18 $73,615.6_2
Subtractions
Paper Checks * check missing from sequence
Check Date Amount
1004 4-26 $1,173.52
Paper Checks Paid $1,178.52
Fees and
charges Dafe ` Ouamny Unir charge _
4-30-18 Paper Statement Fee t 3.00 -$3.00
Fees and charges assessed this period -$3.00

761011004022 - 00518
625

-CFlED|T lNFOF\MAT|ON:

Case:lS-lOQGB-TBl\/| Doc#:105 Filed:05/21'/18 Entered:§

 

 

CUSTOMER ACCOUNT DlSCLOSUFlES_

The following disclosures-apply only to accounts covered by the Federa| Truth-in-Lenping
Act or the Federal Electronic Funds Transfer Act, as arnerided, or sinilar stare iaws.

lN CASE OF ERROR OF\ OU EST|ONS ABOUT YOLjFl ELECTRON[C TRAN SFERS:;

Call us at the phone number indicated on the first page of this statement, OR write us at
the address listed below', as soon as you can, if you think your statement or receipt is
iwrong or il you need more information about a transfer listed on the statement or receipt
§We must hear from you no later than sixty {60) days after we sent you the F|FiST statement
` on which the problem or error appeared

 

 

" KeyBarik

Customer Disputes
N¥-31-17-0128

1'1’ Corporate Wo'ods Blvd
Albany, NY 1 2211

' Te|i us your name and lifl.ccou'it number;

- Descrlbc the error or transfer that you are unsure about, a'id explain as
cleaiiy as you can why you believe it is an error or why yoL need more

_ information;

¢ Tell us the dollar amount of the suspected error.

|`f you tell us orally, we may require that you send us your complaint or ouestlon in writing
within ten (10) business days.

We will investigate your complaint and will correct any error promptly. ll we take more
j than ten 110] business days to do this, we will recredit your account for the amount you
ithink is in error, so that you will have use of the money during the time it takes us to

j complete our investigation

_ COMMON ELECTRON lC TRAN SACT|ON DESCFHPT|ONB:
XFEF\ TO SAV

- Transfer to Savings Accoum j
XFER FFlOM SAV - Transferfrom Savi_ngs Account j
XFER TO CKG ~ Transfer to Chccking Account j

XFER FROM CKG - Transfertrom Checking Account
PlVlT TO Ci=l CARD - Payment to Gredit Card
ADV CFi CARD - Advance trorn Cred`ct Card i

Preauthorlzed Oredits: ll you have arranged to have direct deposits made to jyour
Account at least once every sixty [60) days from the same person c-r company. you can
call us at the number indicated on the reverse side to find out whether or not the deposit
has been made. `

lMPORTANT L|NE OF CRED|T |NFORMATi ON

What 'i'o Do ll You Think You Find A Mistake on ‘i'our Statament: if you think there is
an error on your statement, write us at: KeyEank N.A., P. 0 Eiox 98885 Cleveiand OH

144101- 5885.

t ln your letterl give us the following -inlormation:

¢ Account lnformation: Vour name and account number_

~ Dollar Amount: The dollar amount of the suspected error

¢ Description of the Prob|em: |f you think there is an error on your bili, describe
what you believe' is wrong ard why you believe it was a mistake

-You must contact us within 60 days after the error appeared on your statement. You must

notify us of any potential errors iri writing. You may call us, but ii you do we are not

§required to investigate any potential errors and you may have to pay the amount in

question.

.While we investigate whether or not there has been an error, the following are true:

We cannot try to collec' the amount in question, or report_ you as delinquent on
that amount

¢ The oharge` in question may remain on your statement and we may continue to
charge you interest on that amount. But, if we detern'ine that we made a
mistake, you will not have to pay the amount iri question or any intere t or
other fees related to that amount

' While you do riot have to pay the amount in question, you are responsible for
the remainder of your ba| ance. j

~ We can apply any unpaid amount against your credit limit

Explanation of Finance Charge: Your Finance Charge attrioutabie to interest
(hereinaf'ier referred to as interesti is computed using the Average Daily Baiance method

Average Dally Balance method (Ba|ance Subiect to interest Fta_te): Your interest is
computed on all purchases and cash advances (collectively‘ advances"] from the date
each advance is posted until we receive payment in full (there is no grace period)
figure the interest on your line of credit by multiplying the daily oeriodic rate by the
"Average Daily Ba|ance" of your_ line of credit (including current transactional and
muttiptying by the number of days iri the billing oycle. To get the A\ierage Daily Balance
we take the beginning batance of your iine of credit each day, acid any new advances or
debits, and subtract any payments and credits, any non- -tinanced fees and unpaid interest
This gives us the daily balance. 'lhen we add up atf oi your daily balances in the billing
cycle and divide this total by the number of days in the billing cycle to get your Average
Daily Balance.

if you believe we have reported inaccurate information about
your account to a credit reporting agency. you may contact the credit reporting agency or
write to us at:

Key Grei:tit4 Research Department

P. O. Boin

Cleveland 4Ohio 44101--'1515

1 P|ease include your account number, a copy of your credit report reflecting the inaccurate

information, name, address, city, state. and zip code, and ar\ expianation of whyj you
believe the information' is inaccuratl.

 

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05/21/18

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15237:52 Pagell 0113

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_ merit and paid check information
`i erations or irregularities should be
rdance with your account agreement
`w- will help you balance your account_.

NSTRUCT|ONS
_i“f' in your check register each deposit

Enter‘i_nto your ch ck register and SUBTRAGT:
' Chet ks or other deductions shown on our statement that

you_t
' The-‘

 

Enter ij

 

ave notai_rejady entered.
jService c arges”, if any, shown on your statement

_to your c'hdj_ck register and ADD:

‘ Dep sits or oth_erj credits shown on your statement that
r ady entered.

yod_ j;ive not

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- Thej §‘interost ejjirij ed” shown on your statement if any.
-i

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202

6 List frj- l your cljt_` k 9 List any deposits from
registj` any chej` your check register that
_otheri` eductionj_ are riot shown on your
arej nj ` ji"iown oj statement
sisters

Check 11 1 Am _j Date Amount
or Date, ij ii
l
j __
ii 1 ;.
j *§‘ -- ToTAi_ -) _ sr
! li
_ _ @ Enter ending balance
1 shown on your
cna o ' j |statement.
_.________._ j $
M___. l l
i- jr ,'1 9 Add 5 and 6 and enter
§ l 1 1 total here.
l j $
jj 9 Enter total from 4.
_ _ 1 l
1
.i __ j 9 Subtract 8 from'7 and
'! 'W ;z enter difference here.
il 3 l
*'i m a Ajj' j This amount should-agree with
TOTAL -;;r l 1 _ your check register balance.
il 1 .
ii ii: z
'ii 11- 1
.j! i jj j j
i`; i 1`~1'.!-1‘

 

 

 

 

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6:33 PM
05104!18

11380 Smith Rd, LLC

Reconci|iation Summary
KeyBank #4022, Period Ending 041'301'2018

 

 

Beginning Bafance
C|eared Transactions
Checks and Payments - 2 items

Totat Cteared Transactions

Cleared Ba|ance

 

Uncleared Transactions
Chocks and Payments - 1 item

Total Uncleared Transactions
Register Balance as of 041‘301201 8

 

 

Eni:ilng Ba!ance

Apr 30, 18
74,797.14
-1,181.52
-1.181.52
73,615.62
-325.00
-325.00
73,290.62
73,290.62

Page 1

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s=aa PM 11380 Smith Rd, LLC
osmma Reconciliation Defail
KeyBank #4022, Period Ending 04130!2018
Type Date Nurn Name Ell Amount Balanca
Beginning Balance 74,797.14

Cleared Transactions
Checks and Payments - 2 items

 

 

 

Check 04124/2018 1004 Weinman & Associa... X -1,178.52 -1,178.52
Check 04!30/2018 X -3.00 -1,181.52
Total Checks and Payments -1,181.52 -1,181.52

Tota| Cleared Transactions -1,181.52 -1,181.52
C|eared Balance -1,181.52 ?3,615.62

Unc|eared Transactlons
Checks and Faymenis - 1 item

 

 

 

 

Check 04/2412018 1003 United States Trustee -325.00 -325.00
Tota| Checks and Payments -325.00 -325.00

Tota| Unoleared Transactions -325.00 -325.00
Register Ba|anoe as of D4!30I2018 -1,506.52 ?3,290.62
Ending Balance -1,506. 52 73,290.62

 

Page 1

